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Curepoint, LLC
Balance Sheet
As of August 31, 2022

                                                             Total
ASSETS
 Current Assets
   Bank Accounts
    Cash                                                 $      74,967
   Accounts Receivable                                         423,324
   Other Current Assets
     Loan Receivables
      APA Sweep Receivable                                    1,950,000
     Reserve for Non Collectibility from APA                   (550,000)
     Loan Receivable- American Oncology Associates LLC          200,000
   Total Other Current Assets                                 1,600,000
 Total Current Assets                                         2,098,291

 Fixed Assets
   Furniture & Fixtures                                           1,950
   Machinery & Equipment                                      3,196,072
    Vault                                                       162,977
    Commission                                                   42,000
    SunNuclear                                                   20,118
   Accumulated Depreciation                                  (1,451,103)
   Mosaiq                                                       436,810
 Total Fixed Assets                                           2,408,823

 Other Assets
  Loan Costs                                                    255,957
  Goodwill                                                      836,977
  Accumulated Amortization                                     (992,685)
 Total Other Assets                                             100,249

TOTAL ASSETS                                             $    4,607,363

LIABILITIES AND EQUITY
Liabilities
  Current Liabilities
   Accounts Payable (A/P)                                $     313,530
   Other Current Liabilities
     Due To Northwinds                                               -
     Short-Term Loan Payables                                  475,000
   Total Other Current Liabilities                             475,000
  Total Current Liabilities                                    788,530
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 Long-Term Liabilities
   Note Payable                                         4,555,000
 Total Long-Term Liabilities                            4,555,000
Total Liabilities                                       5,343,530

Equity
 Member Equity                                           (175,763)
 Net Income                                              (560,404)
Total Equity                                             (736,167)

TOTAL LIABILITIES AND EQUITY                       $    4,607,363
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CurePoint
Budget
8.20 to 8.31.2022


                                                d   Actual
                                                g 8/20-8/31

Revenue                                          $    96,085

Expenses
 Personnel Costs
   Wages and Benefits                            $    26,547
   Independent Contractors- medical physics           12,500
   Independent Contractors- physicians                10,000
 Total Personnel Costs                           $    49,047
 Bank Service Charges                                    928
 Insurance                                                 -
 Office Expense
 Billing & Coding                                      4,804
 Janitorial & Building Maintenance                         -
 Office Supplies                                           -
 Medical Supplies                                        300
 Computer & IT                                             -
 Miscellaneous                                             -
 Total Office Expense                                  5,104
 Equipment Maintenance                                28,691
 Software Expense                                          -
 Taxes                                                     -
 Rent--erin park                                           -
 Equipment                                                 -
 Utilities                                             3,116
Total Expenses                                    $   86,886

Net Income                                       $     9,199
